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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

                v-
                                                                            21-CY-6323(CJS)

$8,O4O.OO      UNITED STATES CURRENCY,

                            Defendant.




             NOTICE OF MOTION AND MOTION FOR DEFAULT JUDGMENT
                          AND ORDER OF FORFEITURE

            The United States of America, by its attomey, James P. Kennedy, Jr., United States

Attorney for the Western District of New York, Grace M. Carducci, Assistant United States

Attorney, of counsel, respectfully moves this Court pursuant to Rule 55(b)(2) of the Federal

Rules of Civil Procedure for an Order of Default Judgment and Order of Forfeiture against

the defendant $8,040 United States Currency. In support thereof, the plaintiff offers the

attached affidavit of Grace      M. Carducci, Assistant United    States Attomey and exhibits, as

well   as   all prior pleadings and proceedings held in this matter.



            PLEASE TAKE NOTICE that the United States will bring the above motion on            a


date, time, and place to be scheduled by the Court, before the Honorable Charles J. Siragusa,

United States District Judge, in the United States District Court, 100 State Street, Rochester,

New York 74614.
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DATED:   September 3,2021, at Rochester, New York.



                              JAMES P. KENNEDY, JR.
                              United States Attorney
                              Westem District of New York




                       BY

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

             -v-
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$8,O4O.OO   I.]NITED STATES CURRENCY,

                           Defendant.


       AFFIDAVIT IN SUPPORT OF MOTION FOR DEFAULT JUDGMENT
                      AND ORDER OF FORFEITURE


State of New York )
County of Monroe )              ss:
City of Rochester )


                   GRACE M. CARDUCCI, being duly sworn, deposes and        says:



       1.          I am an Assistant United States Attorney in the office of James P. Kennedy,
Jr., United States Attorney for the Western District of New York, and the attorney for the

plaintiffin the above-entitled action. This affidavit is submitted in support of the plaintiffs

request for an Order of Default Judgment and Order of Forfeiture against the defendant

$8,040.00 United States Currency pursuant to Rule 55(b)(2) of the Federal Rules of Civil

Procedure.



       2.          This action was commenced on April 16, 2021, by the filing of a Verified

Complaint for Forfeiture against $8,040.00 United States Currency (hereinafter the

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"defendant currency"), pursuant to Title 21, United States Code, Section 881(a)(6). A copy

of the Verified Complaint for Forfeiture is attached hereto as Exhibit "A".




       3.   An Arrest Warrant in rem was issued by the Clerk of the Court on April 19,2021.

The defendant currency remains in the custody of the United States Marshals Service.



       4.      On June 14,2021, a copy ofthe Verified Complaint, the Arrest Warrant in rem,

and Direct Notice of Forfeiture Action were sent via FedEx to Cristal Starling, at466 YzWest

Main Street, Rochester, New York 14608. A copy of the Certificate of Service is attached

hereto as Exhibit   "8".



       5.      Public notice of this action was posted on an official government internet site

6vww.forfeiture.gov) for at least 30 consecutive days beginning on July 20, 2027. Such

publication has been completed as set forth in the Declaration of Publication previously filed

with the Court on August 20,2021, a copy of which is attached hereto    as    Exhibit "C".



       6. The time for any potential claimants to file a verified claim and answer in this
action has expired pursuant to the deadlines set forth in the Supplemental Rules for Admiralty

or Maritime Claims and Asset Forfeiture Actions and, to date, neither a claim nor an answer

have been filed with respect to the defendant curency.




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       7   .    On August 20, 2021, the plaintiff filed with the Clerk of the Court a request for

entry of default, wherein, in accordance with Rule 55(a) of the Federal Rules of Civil

Procedure, the plaintiff requested the issuance of a certificate of enffy of default against the

defendant currency and interested parties for failure to plead or otherwise claim as provided

by the Federal Rules of Civil Procedure and the Supplemental Rules for Admiralty or

Maritime Claims and Asset Forfeiture Actions.



       8.       On August 24,202I, the Clerk ofthe Court filed an Entry of Default in this action.

Pursuant to Rule 55(b) of the Local Rules, a copy of the Entry ofDefault is attached as Exhibit

*D'.



       9.      To the best of your affiant's knowledge, putative claimant, Cristal Starling is not

in the military service of the United States, within the meaning of the Soldier's and Sailor's

Civil Relief Act.



       WHEREFORE, it is hereby requested that the Court enter a default judgment against

the defendant $8,040 United States Currency, in accordance with Rule 55(b)(2) of the Federal

Rules of Civil Procedure and enter an Order of Forfeiture pursuant to Title 27,Unrted States

Code, Section 881(a)(6).




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                                              Carducci
                                              United States Attorney


Subscribed and swom to
before me this3dday of September, 2021.



           ANNA M. SEDOR
                                York
    NotarY Publlc, State ol New

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